            Case 1:19-ml-01261-RBC Document 1 Filed 12/09/19 Page 1 of 11


                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



IN RE APPLICATION OF USA PURSUANT                             ML No.: 19-1261
TO 18 U.S.C. § 3512 FOR ORDER FOR
COMMISSIONER'S APPOINTMENT FOR
FRAUD INVESTIGATION


Reference:     DOJ Ref # CRM-182-69839

              APPLICATION OF THE UNITED STATES FOR AN ORDER
       FOR A COMMISSIONER'S APPOINTMENT PURSUANT TO 18 U.S.C. § 3512

       The United States of America, moving by and through its undersigned counsel,

respectfully submits this ex parte application for an Order, pursuant to 18 U.S.C. § 3512,

appointing the undersigned attorney, Angela S. George, Trial Attorney, Office of International

Affairs, Criminal Division, U.S. Department of Justice (or a substitute or successor subsequently

designated by the Office of International Affairs), as a commissioner to collect evidence and to

take such other action as is necessary to execute this and any subsequent, supplemental requests

for assistance with the above-captioned criminal matter from the Republic of Bulgaria

(hereinafter, "Bulgaria"). In support of this application, the United States asserts:

                                       RELEVANT FACTS

       1.      The Supreme Cassation Prosecutor's Office of the Republic of Bulgaria,

submitted a request for assistance (the Request) to the United States, pursuant to the Instrument

as contemplated by Article 3(2) of the Agreement on Mutual Legal Assistance Between the

United States of America and the European Union signed 25 June 2003 as to the application of

the Treaty Between the Government of the United States of America and the Government of the

Republic of Bulgaria, Bulg.-U.S., September 19, 2007, S. TREATY DOC. NO. 110-12 (2007)

(the Treaty). As stated in the Request, the Regional Prosecutor's Office in Varna, Bulgaria is

investigating unknown subjects for fraud, which occurred between in or about October 2017 and
            Case 1:19-ml-01261-RBC Document 1 Filed 12/09/19 Page 2 of 11


January 2018, in violation of the criminal law of Bulgaria, specifically, Article 209(1) of the

Criminal Code of the Republic of Bulgaria. Under the Treaty, the United States is obligated to

assist in response to the Request.

       2.       According to Bulgarian authorities, in October 2017, a Bulgarian citizen (victim)

was seeking employment abroad, and he sent a resume to www.hilcorp.com to apply for a

position with the Hilcorp Energy Company (HEC) in Houston, Texas. Shortly thereafter, an

individual named Mike Brezina (Brezina) using the electronic mail (e-mail) address

careers@hilcorps.com contacted the victim to discuss employment with the company. The

victim filled out an interview form and returned a signed contract to Brezina, who informed the

victim that a person named Ryan McAuley (McAuley) would contact him to assist him with his

H1B visa application for working in the United States.

       3.      On December 8, 2017, the victim received a letter from McAuley, who provided

visa application forms. The victim completed the forms and returned them to McAuley. Shortly

thereafter, Victim received an e-mail from "noreply@uscis.gov," stating that U.S. Citizenship

and Immigration Services had received a H1B visa application in his name, and the victim

needed to purchase insurance, providing www.hempsteadassurance.com as the address where he

should submit the insurance request. After learning about the different options by e-mailing

info@hempsteadassurance.com, the victim chose a plan on December 10, 2017, and received an

e-mail from accounts.dept@hemsteadassurance.com which directed him to transfer 3,680 USD

to an account at the Bank of Scotland in Edinburgh, Scotland. The victim transferred the sum on

December 11, 2017, through Societe Generale Expressbank (SGE) in Varna, Bulgaria. He

received confirmation on December 12, 2017, from accounts.dept@hempsteadassurance.com

that the plan had been purchased, and subsequently, sent the policy to McAuley.
             Case 1:19-ml-01261-RBC Document 1 Filed 12/09/19 Page 3 of 11


        4.      On January 5, 2018, McAuley emailed the victim explaining that he needed to

pay 2,980 USD for a "U.S. court certificate" to confirm that he would not become an immigrant

in the United States. McAuley directed the victim to transfer the money to an account, account

number )0000000a9851, at SunTrust Bank (4095 Sugarloaf Parkway, Lawrenceville,

Georgia 30044) in the name of Theolin Jacobs (1012 Stone Mill Way, Lawrenceville, GA

30044). On January 8, 2018, the victim made the transfer through SGE.

        5.      By January 14, 2018, the victim began to suspect that he had been deceived. He

learned that HEC's real e-mail address was careers@hilcorp.com, instead of

careers@hilcorps.com. Also, the victim discovered that the IP addresses of all the e-mail

accounts that he used during the application process were located in Russia. SGE, notified the

victim that the account at the Bank of Scotland, to which he had transferred 3,680 USD, was no

longer active, and the account at SunTrust, to which he had transferred 2,980 USD, was closed.

The victim requested the return of the transfers due to fraud, but both banks replied that

reimbursement of funds was not possible.

        6.      To further the investigation, authorities in Bulgaria have asked U.S. authorities to:

(1) provide bank records pertaining to account number XXXXXXXXX9851 held at SunTrust

Bank; and (2) interview the person who withdrew the amount of 2,980 USD from and/or account

holders of account number )0000'0000(9851, if they can be identified.

                                      LEGAL BACKGROUND

        7.      A treatyl constitutes the law of the land. U.S. Const. art. VI, cl. 2. The

provisions of a treaty have equal footing with acts of Congress and are binding on the courts.

See Asakura v. City of Seattle, 265 U.S. 332, 341 (1924); United States v. The Peggy, 5 U.S. 103



1 The term "Treaty" used herein encompasses bilateral treaties, multilateral conventions, instruments, and
protocols.
                                                       3
             Case 1:19-ml-01261-RBC Document 1 Filed 12/09/19 Page 4 of 11


 (1801); United States v. Emuegbunam, 268 F.3d 377, 389 (6th Cir. 2001). The provisions of a

 treaty should be construed liberally "to give effect to the purpose which animates it." United

 States v. Stuart, 489 U.S. 353 (386) (1989) (internal quotations marks omitted). To the extent

 that the provisions of a treaty are inconsistent with a preexisting statutory provision, the treaty

 supersedes the statute. Zschernig v. Miller, 389 U.S. 429, 440-41 (1968).

        8.      The United States and Bulgaria entered into the Treaty to promote more effective

judicial cooperation and assistance between the parties in criminal matters. See Treaty, pmbl.

• The Treaty obligates each party, upon request, to provide assistance to the other in criminal

 investigations, prosecutions, and related proceedings, including assistance in serving documents,

 obtaining testimony, statements, records, and executing searches and seizures. Article 1.

        9.      When executing a treaty or non-treaty request for assistance from a foreign

 authority, an attorney for the government may file an application to obtain any requisite court

orders under 18 U.S.C. § 3512. This section authorizes a federal court to issue such orders and

provides in pertinent part:

         Upon application, duly authorized by an appropriate official of the Department of
       • Justice, of an Attorney for the Government, a Federal judge may issue such orders
         as may be necessary to execute a request from a foreign authority for assistance in
         the investigation or prosecution of criminal offenses, or in proceedings related to
         the prosecution of criminal offenses, including proceedings regarding forfeiture,
         sentencing, and restitution.



        [A]n application for execution of a request from a foreign authority under this
        section may be filed . . . in the District of Columbia.



        The term "foreign authority" means a foreign judicial authority, a foreign
        authority responsible for the investigation or prosecution of criminal offenses or
        for proceedings related to the prosecution of criminal offenses, or an authority
        designated as a competent authority or central authority for the purpose of making
        requests for assistance pursuant to an agreement or treaty with the United States

                                                       4
           Case 1:19-ml-01261-RBC Document 1 Filed 12/09/19 Page 5 of 11


        regarding assistance in criminal matters.

18 U.S.C. § 3512(a)(1), (c)(3), (h)(2).

        10.     Congress enacted this section to make it "easier for the United States to respond

to [foreign] requests by allowing them to be centralized and by putting the process for handling

them within a clear statutory scheme." 155 Cong. Rec. 6,810 (2009) (statement of Sen.

Whitehouse); Foreign Evidence Request Efficiency Act of 2009, Pub. L. No. 111-79, 123 Stat.

2086.2 This section provides clear authority for the federal courts, upon application duly

authorized by an appropriate official of the Department of Justice, to issue orders that are

necessary to execute a foreign request.

        11.     An application is duly authorized by an appropriate official of the Department of

Justice when the Office of International Affairs3 has reviewed and authorized the request, and

executes the request itself or delegates execution to another attorney for the government.4 Upon

such a duly authorized application, Section 3512 authorizes a federal judge5 to issue "such orders


2 Prior to the enactment of 18 U.S.C. § 3512, the United States routinely utilized the procedures
authorized by 28 U.S.C. § 1782 (the "commissioner" process) to execute requests from foreign
authorities. See In re Request from the United Kingdom, 685 F.3d 1, 11 (1st Cir. 2012) (18 U.S.C. §
3512 provides a more streamlined process than 28 U.S.C. § 1782, the statute under which foreign requests
were executed prior to enactment of section 3512); see also Intel Corp. v. Advanced Micro Devices, Inc.,
542 U.S. 241, 247-49 (2004) (describing history of Section 1782). When enacting Section 3512,
Congress anticipated that improved U.S. handling of foreign requests would ensure reciprocity in
response to U.S. requests for assistance in its criminal investigations. See, e.g., 155 Cong. Rec. 10,093
(2009) (statement of Rep. Schiff).

3 The Attorney General, through regulations and Department of Justice directives, delegated to the Office
of International Affairs the authority to serve as the "Central Authority" under treaties and executive
agreements between the United States and other countries pertaining to mutual assistance in criminal
matters. See 28 C.F.R. 0.64-1, 0.64-4, and Appendix to Subpart K, Directive Nos. 81B and 81C (2018).

 "Section 3512 can be invoked only when authorized by 01A. . . . Such authorization occurs when an
attorney for the government, or his or her office, receives the referral of the request for execution from
01A." Memorandum from the Deputy Attorney General to Department of Justice Components (May 16,
2011) (on file with the Office of International Affairs).

5 The term "federal judge" includes a magistrate judge. See 18 U.S.C. § 3512(h)(1); Fed. R. Crim. P.
1(b)(3 )(B) (including a magistrate judge in the definition of federal judge).
                                                           5
          Case 1:19-ml-01261-RBC Document 1 Filed 12/09/19 Page 6 of 11


as may be necessary to execute [the] request," including: (1) search warrants under Fed. R.

Crim. P. 41; (2) orders for electronic records under 18 U.S.C. § 2703; (3) orders for pen registers

or trap and trace devices under 18 U.S.C. § 3123; and (4) orders appointing a person to direct the

taking of testimony or statements and/or the production of documents or other things. See 18

U.S.C. § 3512(a)(1)--(b)(1). In addition, a federal judge may order any necessary procedures to

facilitate the execution of the request, including any procedures requested by the foreign

authority to facilitate its use of the evidence. 18 U.S.C. § 3512(a)(1).

        12.     Section 3512 also authorizes any person appointed to direct the taking of

testimony or statements and/or the production of documents. The appointed person has authority

to: (1) issue an order requiring a person to appear and/or produce documents or other things; (2)

administer any necessary oaths; and (3) take testimony or statements and receive documents or

other things. 18 U.S.C. § 3512(b)(2). In ordering a person to appear and/or produce documents

or other things, the person appointed, commonly referred to as the "commissioner," typically

uses a subpoena entitled "Commissioner's Subpoena." Any such subpoena may be served or

executed anywhere in the United States. 18 U.S.C. § 3512(f). A sample "Commissioner's

Subpoena" is included as Attachment A.

                                      REQUEST FOR ORDER

       13.     The Office of International Affairs has reviewed and authorized the Request, and

is executing the Request itself. Consequently, this application for an Order appointing the

undersigned attorney as a commissioner to collect evidence and to take such other action as is

necessary to execute the Request has been "duly authorized" within the meaning of Section

3512. In addition, the Request was submitted by an appropriate "foreign authority," the Supreme

Prosecutor's Office of Cassation of the Republic of Bulgaria, a designated Central Authority in

Bulgaria, which seeks assistance in the investigation of fraud—a criminal offense in Bulgaria.
                                                       6
          Case 1:19-ml-01261-RBC Document 1 Filed 12/09/19 Page 7 of 11


The requested Order is necessary to execute the Request, and the assistance requested, i.e., the

production of bank records and a witness interview, falls squarely within that contemplated by

Section 3512 and the Treaty. Finally, this application was properly filed in the District of

Columbia.

       14.     This application is being made ex parte, consistent with U.S. practice in its

domestic criminal matters.

       15.     When executing a foreign request for assistance in a criminal matter, both Section

3512 and the Treaty authorize the use of compulsory process comparable to that used in

domestic criminal investigations and/or prosecutions. Because subpoenas utilized in U.S.

criminal proceedings (i.e., grand jury and criminal trial subpoenas) are issued without notice to

any person other than the recipient (i.e., no notice to targets or defendants), orders and

commissioner subpoenas issued in execution of a foreign request pursuant to Section 3512 and

the applicable treaty likewise should require no notice other than to the recipients. This is true

even if the Requesting State, as here, seeks financial records, because the Right to Financial

Privacy Act, 12 U.S.C. §§ 3401 et seq., including its notice provisions, does not apply to the

execution of foreign requests for legal assistance. Young v. U.S. Dept. of Justice, 882 F.2d 633,

639 (2d Cir. 1989), cert. denied, 493 U.S. 1072 (1990); In re Letters of Request from the

Supreme Court of Hong Kong, 821 F. Supp. 204, 211 (S.D.N.Y. 1993); In re Letter of Request

for Judicial Assistance from the Tribunal Civil de Port-Au-Prince, Republic of Haiti, 669 F.

Supp. 403, 407 (S.D. Fla. 1987). Accordingly, this Court should authorize a commissioner to

collect the evidence requested without notice to any person or entity other than the recipient(s) of

any given commissioner subpoena.

       16.     Therefore, the United States respectfully requests that this Court issue the

attached Order, pursuant to 18 U.S.C. § 3512, appointing the undersigned attorney, Angela S.
                                                      7
          Case 1:19-ml-01261-RBC Document 1 Filed 12/09/19 Page 8 of 11


George, Trial Attorney, Office of International Affairs (or a substitute or successor subsequently

designated by the Office of International Affairs) as a commissioner, authorizing the undersigned

to take the actions necessary, including the issuance of commissioner's subpoenas, as needed, to

collect the evidence necessary to execute any pending request for assistance and any subsequent,

supplemental requests in connection with the same matter, to do so in a manner consistent with

the intended use of the evidence.

                                             Respectfully submitted,

                                           • VAUGHN A. ARY
                                             DIRECTOR
                                             OFFICE OF INTERNATIONAL AFFAIRS
                                             OK Bar Number 12199


                                               074-s
                                             Angela S. George
                                             Trial Attorney
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                                                    8
Case 1:19-ml-01261-RBC Document 1 Filed 12/09/19 Page 9 of 11




                     ATTACHMENT A
           Case 1:19-ml-01261-RBC Document 1 Filed 12/09/19 Page 10 of 11




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA



IN RE APPLICATION OF USA PURSUANT
TO 18 U.S.C. § 3512 FOR ORDER FOR
COMMISSIONER'S APPOINTMENT FOR
FRAUD INVESTIGATION



Reference: DOJ # CRM-182-69839
(Please repeat when responding.)

                                 COMMISSIONER'S SUBPOENA

TO: SunTrust Bank, N.A.

       I, Commissioner Angela S. George, Trial Attorney, Office of International Affairs,

Criminal Division, U.S. Department of Justice, acting pursuant to 18 U.S.C. § 3512, and this

Court's Order signed on                          , for the purpose of rendering assistance to

                            , command that you provide the following documents regarding (an)

alleged violation(s) of the laws of                       ; specifically,                       , in

violation of Section                             of the                     Code.

       Provide records to International Affairs Specialist                            by emailing

them to                               or by mailing via FedEx either a paper copy of the records or

any commonly used digital storage device loaded with the files to the following mailing address

by               , 20   :

          Pursuant to the Court's Order signed on             , 20 , no notice of this subpoena or

its contents is to be given to any person unless otherwise authorized to do so by the Court, except

that                    may notify its attorney for the purpose of obtaining legal advice.
          Case 1:19-ml-01261-RBC Document 1 Filed 12/09/19 Page 11 of 11




        For failure to provide records                         and/or appear for testimony or

for disclosure of the existence of the subpoena, you may be deemed guilty of contempt and liable

to penalties under the law.


Date:
                                                   COMMISSIONER
                                                   Angela S. George, Trial Attorney
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                                                   Criminal Division, Department of Justice
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